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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

Diane Ford,                                         Civil File No. 0:18-cv-03196-DSD-
                                                    KMM
                         Plaintiff,

vs.
                                                 DEFENDANT’S NOTICE OF
Delta Air Lines, Inc.,                        HEARING ON MOTION TO DISMISS

                         Defendant.


TO:    Plaintiff Diane Ford and her attorneys of record: Brian Mildenberg, Mildenberg
       Law Firm, 1735 Market St., Suite 3750, Philadelphia, PA 19103; Matthew
       Weisberg, Weisberg Law, 7 South Morton Ave, Morton, PA 19070; and Michael
       Bryant, Bradshaw & Bryant, PLLC, 1505 Division Street, Waite Park, MN 56387.

       PLEASE TAKE NOTICE that on April 18, 2019, at 9:30 a.m., before The

Honorable David S. Doty, at the United States Courthouse, Courtroom 14W, 300 South

Fourth Street, Minneapolis, Minnesota 55415, and pursuant to Rule 12(b)(6) of the Federal

Rules of Civil Procedure, Defendant Delta Air Lines, Inc. will move the Court for an Order

dismissing all of Plaintiff Diane Ford’s claims in the above-captioned case for failure to

state a claim upon which relief may be granted. Each side shall have 15 minutes for oral

argument.
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Dated: February 20, 2019               DORSEY & WHITNEY LLP


                                       By    s/ Lily Dobson
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